             Case 18-11976-elf                    Doc          Filed 03/07/20 Entered 03/07/20 14:35:35                          Desc Main
                                                                Document     Page 1 of 6
 Fill in this information to identify the case:

  Debtor 1       Oliver T. Rigney, Jr.

  Debtor 2

 United States Bankruptcy Court for the: Western District of Missouri

 Case number :    18-11976



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               CARRINGTON MORTGAGE SERVICES, LLC                                        Court claim no.                                       8
     creditor:                                                                                      (if known):
     Last 4 digits of any number                                                                    Date of payment change:                   04/01/2020
     you use to identify the debtor's                                    8890                       Must be at least 21 days after date of
     account:                                                                                       this notice

                                                                                                    New total payment:                         $968.69
                                                                                                    Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ] No
      [X]     Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                      Describe the basis for the change. If a statement is not attached, explain why:

                             Current escrow payment: $389.63                             New escrow payment: $386.70



Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?

      [X] No
      [ ] Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a
                     notice is not attached, explain why:

                     Current interest rate:                                     New interest rate:
                     Current Principal and interest payment:                    New principal and interest payment:



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X] No
       [ ] Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                      agreement. (Court approval may be required before the payment change can take effect).
                      Reason for change:
                             Current mortgage payment:                                   New mortgage payment:




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                     page 1
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                                                                Document     Page 2 of 6
Debtor 1 Oliver T. Rigney, Jr.                                                        Case number (if known)           18-11976
                First Name              Middle Name           Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:


[]       I am the creditor.

[X]       I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


     /s/ Julian Cotton                                                                      Date     03/07/2020
    Signature



Print:                       Julian Cotton                                       Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                   Email              bkcrm@padgettlawgroup.com




Official Form 410S1                                                   Notice of Mortgage Payment Change                                       page 2
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                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

on the attached Service List by electronic service and/or by First Class U.S. Mail on this the 7th day of

March, 2020.



                                                     /S/ Julian Cotton

                                                     ___________________________________
                                                     JULIAN COTTON
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     bkcrm@padgettlawgroup.com
                                                     Authorized Agent for Creditor




Official Form 410S1                       Notice of Mortgage Payment Change                                 page 3
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                                  SERVICE LIST (CASE NO. 18-11976)

Debtor
Oliver T. Rigney, Jr.
30 Springton Road
Upper Darby, PA 19082

Co-Debtor
John L. McClain
John L. McClain and Associates
P.O. Box 123
Narberth, PA 19072-0123

Attorney
William C. Miller, Esq
Chapter 13 Trustee
P.O. Box 1229
Philadelphia, PA 19105

Trustee
United States Trustee
Office of the U.S. Trustee
200 Chestnut Street
Suite 502
Philadelphia, PA 19106




Official Form 410S1                    Notice of Mortgage Payment Change                      page 4
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                                                                                                              SLMR 4000328890




*** ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - LAST CYCLES ESCROW ACCOUNT HISTORY                    ***




                    - - - Y OUR PAY M E NT BR E AK DOW N AS OF APR I L, 2 0 1 9 I S - - -




         -- PAYMENTS TO ESCROW --     -- PAYMENTS FROM ESCROW --               -- ESCROW BALANCE --
MONTH    PRIOR PROJECTED ACTUAL PRIOR PROJECTED DESCRIPTION ACTUAL DESCRIPTION PRIOR PROJECTED ACTUAL




Escrow pay ments up to escrow analy sis effectiv e date:




        ***   ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT - PROJECTIONS                      ***
     Case 18-11976-elf            Doc       Filed 03/07/20 Entered 03/07/20 14:35:35                        Desc Main
                                             Document     Page 6 of 6
                                             * * * * CONTINUATION * * * *



-------------------- PROJECT ED ESCROW ACT IVIT Y - APRIL, 2020 T HROUGH M ARCH, 2021 -----------------------
               ---- PROJECTED PAYMENTS --                             -- ESCROW BALANCE COMPARISON --
MONTH          TO ESCROW       FROM ESCROW      DESCRIPTION          PROJECTED        REQUIRED




--------------------------------- DETERMINING THE SUFFICIENCY OF YOUR ESCROW BALANCE -----------------------------------




------------------------------------- CALCULATIONS OF YOUR NEW PAYMENT AMOUNT ------------------------------------------------




 Escrow pay ments up to escrow analy sis effectiv e date:


 Escrow disbursements up to escrow analy sis effectiv e date:




IMPORTANT BANKRUPTCY NOTICE




CREDIT REPORTING




MINI MIRANDA
